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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                       Chapter 11
                                                              Case No. 7:13-23532-rdd
 Rogan RR LLC,
                                                              Hon. Robert D. Drain
                                                              United States Bankruptcy Judge
                                          Debtor.
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  ORDER AUTHORIZING EASTERN SAVINGS BANK, FSB TO SERVE SUBPOENAS
        PURSUANT TO FED. R. BANKR. P. 2004 DIRECTING BOTH THE
          PRODUCTION OF DOCUMENTS AND ORAL DEPOSITIONS

          UPON the application (the “Application”) of Eastern Savings Bank, fsb (“Eastern”) a

secured creditor and mortgagee of Rogan RR LLC (the “Debtor”), by and through its attorneys,

Kriss & Feuerstein LLP, seeking the entry of an Order authorizing Eastern to serve subpoenas upon

the Debtor, and the Debtor’s tenants, including, without limitation, Railroad Transfer, Inc. (“RTI”)

and Primem Tristate, LLC (“PTL”) and Quality Materials (“Quality” and together with RTI and

PTL, the “Tenants”) all of which are believed to be, or have been located at the Debtor’s real

property, commonly known as 225 Railroad Avenue, Bedford Hills, New York (the “Property”),

and compelling the examination, under oath, of the Debtor and the Tenants, by their officers,

directors or such other persons with knowledge and authority under oath, and for the production of

certain records and documents by the Debtor and the Tenants, including (i) production of the

documents specified in Eastern Savings Bank, FSB’s First Demand for the Production of

Documents and Information (as annexed hereto); (ii) directing the Debtor to appear for depositions;

(iii) and if necessary further directing any or all of the Tenants or other related third parties to appear

for depositions; and the relief sought by Eastern appearing to be appropriate; after due deliberation,

it is hereby

          ORDERED, that Eastern’s Application is hereby GRANTED; and it is further
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        ORDERED, that Eastern is hereby authorized to serve a subpoena upon the Debtor; and it

is further

        ORDERED, that if necessary, Eastern may further serve a subpoena upon Tenants and/or

affiliates of the Debtor including but not limited to such third parties as RTI, PTL and/or Quality;

and it is further

        ORDERED that the Debtor shall produce those documents as set forth on Schedule “A”

annexed to Eastern’s Application and that said documents shall be produced by not later than twenty

(20) days from the date of entry of this Order; and it is further

        ORDERED that any one, or all of the Tenants shall produce those documents as may be

further set forth and directed to the Tenants in connection with Eastern’s Application and that said

documents shall be produced by not later than twenty (20) days from the date of entry of this Order;

and it is further

        ORDERED that the Debtor, the Tenants and any third-parties served with a subpoena from

Eastern shall appear in accordance with the subpoena to be duly served pursuant to this Order, to

ensure that their oral testimony may be taken, on a date to be mutually acceptable to the Debtor, or

such other affiliates of the Debtor including but not limited to such third parties as RTI, PTL and

Quality, which date may be no earlier than ten (10) days from the date of entry of this Order; and it

is further

        ORDERED that service of a copy of this Application, Order and any subpoenas by First

Class Mail upon the Debtor, its Tenants, including without limitation, RTI, PTL and Quality or

affiliates of the Debtor or the Tenants at the Property as indicated on the Debtor’s petition and

monthly operating reports as supplied by the Debtor, or such other address as may be discovered,



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or upon their counsel, at least fourteen (14) days prior to the date of the scheduled examination,

shall be deemed good and sufficient notice and service of this Order and subpoena; and, it is further

       ORDERED, that the examinations of the Debtor as well as RTI, PTL and Quality may

continue from day to day until they are completed; and it is further

       ORDERED, that Eastern may take such actions and execute such documents in accordance

with the terms and conditions of this Order; and it is further

       ORDERED that this Court shall retain jurisdiction over this Order to enforce the provisions

herein, and to resolve any controversies that may arise hereunder.




Dated: ____________________
       White Plains, New York
                                                                 __________________________
                                                                 Hon. Robert D. Drain
                                                                 United States Bankruptcy Judge




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